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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

        Plaintiff,
                                                       Case No. 10-20235
 v.
                                                       HONORABLE DENISE PAGE HOOD
 LEHRUE WILLIAM FREEMAN-PAYNE (D2),

       Defendant.
 __________________________________________/

                ORDER REGARDING MOTIONS TO WITHDRAW AS COUNSEL
                         and FOR APPOINTMENT OF COUNSEL
                                        and
                        ORDER SETTING and RESETTING DATES

        Defendant Lehrue William Freeman-Payne filed a motion for the Court to have his current

 counsel, Douglas Mullkoff, withdraw from representing him in this matter and to appoint new

 counsel to represent him during post-judgment motions and sentencing. Freeman-Payne asserts that

 there has been a complete breakdown in the attorney-client relationship and that his counsel is

 ineffective.

        Mr. Mullkoff thereafter filed a motion to withdraw from representing Freeman-Payne

 asserting that based on his client’s statements, there has been a complete breakdown in the attorney-

 client relationship. Mr. Mullkoff did file a Motion for Judgment of Acquittal or for New Trial on

 behalf of Freeman-Payne on September 26, 2013.

        On August 14, 2013, a jury returned a verdict finding Freeman-Payne guilty of: Conspiracy

 to Distribute and to Possess with Intent to Distribute Cocaine less than 500 grams of cocaine and

 Unlawful Use of Communication Facility. The Government’s forfeiture allegations against

 Freeman-Payne was dismissed by the jury.
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         The Local Rules provide that an attorney making an appearance on behalf of a defendant

 continues to represent the defendant through an appeal unless the district court grants a motion to

 withdraw prior to the notice of appeal being filed. E.D. Mich. L.Cr.R. 57.1(a). It is well-established

 that a criminal defendant accused of a felony has a constitutional right under the Sixth Amendment

 to be represented by counsel and to have counsel appointed for him if he cannot afford one, or,

 alternatively, to represent himself in such proceedings. Faretta v. California, 422 U.S. 806 (1975).

 The “essential aim of the Amendment is to guarantee an effective advocate for each criminal

 defendant rather than to ensure that a defendant will inexorably be represented by the lawyer whom

 he prefers.” Wheat v. United States, 486 U.S. 153, 159 (1988). The Sixth Amendment does not

 guarantee a “meaningful relationship” between a defendant and his attorney. Morriss v. Slappy, 461

 U.S. 1, 14 (1983). A motion for new court appointed counsel based upon defendant’s dissatisfaction

 with his counsel is addressed to the sound discretion of the trial court. United States v. White, 451

 F.2d 1225 (6th Cir. 1971). The defendant’s right “to court appointed counsel does not carry with

 it the right to select a particular attorney.” Id.

         In light of Freeman-Payne’s statements that his counsel is ineffective and Mr. Mulkoff’s

 statement that there has been a breakdown in the attorney-client relationship, the Court grants both

 Motions to Withdraw as counsel. It is noted that Mr. Mullkoff appears to have complied with the

 appropriate rules and procedures and has filed a post-judgment motion on Freeman-Payne’s behalf.

 It is also noted that Mr. Mullkoff is Freeman-Payne’s third counsel and his second court-appointed

 attorney. The Court also further notes that Freeman-Payne prevailed on the forfeiture claim in the

 amount of $30,000.00. It is not clear whether Freeman-Payne qualifies for court-appointed counsel

 under the Criminal Justice Act, 18 U.S.C. § 3006A. The Court, however, grants Freeman-Payne’s


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 Motion to Appoint Counsel and directs new counsel to have Freeman-Payne complete a new

 application/affidavit if the defense determines one is required.

         Accordingly,

         IT IS ORDERED that the Motion to Appoint Counsel filed by Defendant Freeman-Payne

 (No. 395) is GRANTED.

         IT IS FURTHER ORDERED that the Motion to Withdraw as Counsel filed by Douglas

 Mullkoff (Doc. No. 396) is GRANTED. Mr. Mullkoff is directed to turn over to new counsel all

 relevant documents in his possession as soon as new counsel is appointed and to inform new counsel

 as to the status of the case.

         IT IS FURTHER ORDERED that this matter is referred to the Federal Defender to appoint

 counsel under the Criminal Justice Act.

         IT IS FURTHER ORDERED that the following dates govern this matter:

         Any response to the Motion for Judgment of Acquittal must be filed by: December 20, 2013

         Any reply to the response must be filed by: January 24, 2014

         The Sentencing is rescheduled to: Thursday, February 27, 2014, 3:00 p.m.



                                 S/Denise Page Hood
                                 Denise Page Hood
                                 United States District Judge

 Dated: November 26, 2013

 I hereby certify that a copy of the foregoing document was served upon counsel of record on
 November 26, 2013, by electronic and/or ordinary mail.

                                 S/LaShawn R. Saulsberry
                                 Case Manager


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